                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                 3:15-CR-00302-RJC-DSC
 USA                                                )
                                                    )
     v.                                             )                  ORDER
                                                    )
 ANTHONY LEON BOST, ET AL.                          )
                                                    )

          THIS MATTER comes before the Court on the pro se motion of Kathy J. Austin

(Petitioner), (Doc. No. 126), seeking the return of a firearm and the Government’s Motion to

Strike, (Doc. No. 167), pursuant to Fed. R. Crim. P. 32.2(c)(1)(A) and 21 U.S.C. § 853(n)(3).

          A person asserting a legal interest in property forfeited to the United States in a criminal

case may petition for a hearing to determine the validity of the alleged interest within thirty days

of receiving notice of forfeiture. 21 U.S.C. § 853(n)(2). Such petition must be signed under

penalty of perjury and state the nature and extent of the property interest; the time and

circumstances of the acquisition of the interest; and any additional facts supporting the claim. 21

U.S.C. § 853(n)(3). A claimant is required to adhere strictly to these filing requirements to

establish standing to litigate an alleged interest in forfeited property. United States v. Loria, 2009

WL 3103771, *2 (W.D.N.C. Sept. 21, 2009) (dismissing untimely and unsworn petition;

collecting cases). On motion, a court may dismiss a petition for lack of standing, taking the facts

in the petition as true. Fed. R. Crim. P. 32.2(c)(1)(A).

          Here, the Court entered an Order and Judgment of Forfeiture on July 28, 2016, regarding

a Smith & Wesson, Model 59, 9 mm pistol and ammunition the defendant used to commit a

robbery. (Doc. No. 108). On October 20, 2016, Petitioner filed a pleading stating she is the

widow and sole survivor of Michael Chapman Austin and requesting that the pistol and




    Case 3:15-cr-00302-RJC-DSC               Document 172         Filed 09/22/17      Page 1 of 2
ammunition be returned to her. (Doc. No. 126). The Government moves the Court to strike the

petition because it fails to state the required details about her interest in the firearm, such as when

it was acquired, and because the petition was not signed under penalty of perjury. (Doc. No. 167:

Motion at 2). Petitioner has not responded to the government’s motion or moved to amend her

petition to meet the statutory requirements. Accordingly, the Court finds she does not have

standing to pursue her claim.

       IT IS, THEREFORE, ORDERED that the government’s Motion to Strike, (Doc. No.

167), is GRANTED and Petitioner’s motion, (Doc. No. 126), is STRICKEN.

       The Clerk is directed to certify copies of this order to the United States Attorney and

Kathy J. Austin, 3771 Hebron Rd., Galax, Virginia, 24333.

 Signed: September 22, 2017




                                                  2

    Case 3:15-cr-00302-RJC-DSC             Document 172         Filed 09/22/17       Page 2 of 2
